 1   GARY W. DYER
     Assistant United States Trustee
 2   United States Dept. of Justice
     Office of the United States Trustee
 3   United States Courthouse
     920 West Riverside, Room 593
     Spokane, WA 99201
 4   Telephone (509) 353-2999
     Fax (509) 353-3124
 5
 6                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF WASHINGTON
 7
 8   In re:                      }
                                 }                      Case No: 10-06097-PCW11
 9   AMERICANWEST BANCORPORATION }
                                 }                      APPOINTMENT OF COMMITTEE
10                               }                      OF UNSECURED CREDITORS IN A
                       Debtor    }                      CHAPTER 11 REORGANIZATION CASE
11
12            The United States Trustee hereby appoints the following creditors of the above-named
13   debtor to the committee of unsecured creditors.
14
              AmericanWest Statutory Trust I
15            c/o James H. Byrnes
              U.S. Bank NA , TFM Corporate Trust Service
16            Once Federal Street, 3rd Floor
              Boston, MA 02110
17            (617) 603-6442
18
              AmericanWest Capital Trust II
19            c/o Steven Cimalore
              Wilmington Trust Company
20            Rodney Square North
              1100 North Market Street
21            Wilmington, DE 19890-1615
              (302) 636-6058
22
23            AmericanWest Capital Trust III
              c/o Steven Cimalore
24            Wilmington Trust Company
              Rodney Square North
25            1100 North Market Street
              Wilmington, DE 19890-1615
26            (302) 636-6058
27
28   APPT. UNSECURED CRED. COMM.



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 1
          D A T E D this 19th day of November, 2010.
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 3
                                                 Respectfully submitted,
 4
 5                                               ROBERT D. MILLER JR.
                                                 United States Trustee
 6
                                                 /s/ Gary W. Dyer
 7                                               GARY W. DYER
                                                 Assistant United States Trustee
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28   APPT. UNSECURED CRED. COMM.



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